                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


GRISELDA MCGEHEE, et al.                   )
                                           )
v.                                         ) NO. 3-14-1684
                                           ) JUDGE CAMPBELL
DIVERSIFIED GLOBAL SERVICES,               )
LLC, et al.                                )



                                          ORDER

       Pending before the Court is Motion for Attorneys’ Fees and Costs (Docket No. 16). The

Motion is referred to the Magistrate Judge for a Report and Recommendation.

       IT IS SO ORDERED.


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                                                  TODD J. CAMPBELL
                                                  UNITED STATES DISTRICT JUDGE




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